Case 23-15758-SLM         Doc 199-3 Filed 03/13/24 Entered 03/13/24 12:39:57             Desc
                              Proposed Order Page 1 of 2


 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 ROBERT N. SNYDER, JR. CPA
 Sharer Petree Brotz & Snyder
 1103 Laurel Oak Road
 Suite 105B
 Voorhees, NJ 08043
 (856)435-3200
 Accountant for the Chapter 11 Trustee


 In Re:                                              Case No.: 23-15758

 SUPOR PROPERTIES BERGEN AVENUE LLC                  Chapter 11

                                                     Hearing Date: 04/16/24 @ 2:30PM

                                                     Judge: SLM

                 ORDER AWARDING FINAL COMPENSATION AND EXPENSES
                        FOR THE ACCOUNTANT TO THE TRUSTEE

      The relief set forth on the following pages, numbered two (2) through two (2) is
      Hereby ORDERED.
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Debtor:        SUPOR PROPERTIES BERGEN AVENUE LLC
Case No.:      23-15758\SLM
Caption of Order: Order Approving Fees and Expenses for the Accountant for the Chapter 11 Trustee


        Upon consideration of the foregoing application for compensation and after notice as prescribed by
Bankruptcy Rule 2002 to all parties in interest, it is
        ORDERED, that compensation and expenses are allowed as follows:



        APPLICANT

        Sharer Petree Brotz & Snyder

        FEES:                      $6,474.50

        EXPENSES                   $   12.80

        TOTAL:                     $6,487.30
